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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


J&J SPORTS PRODUCTIONS, INC.                                       CIVIL ACTION

VERSUS
                                                                   NO. 15-2278
LA CONQUISTADORA RESTAURANT, LLC
d/b/a and a/ka TAQUERIA SANCHEZ
LA CONQUISTADORA AND CARMELA DIAZ                                  SECTION “N” (3)


                                          ORDER

       Counsel are reminded that the Court's Order of October 28, 2015 (Rec. Doc. 12) requires

them to contact the assigned magistrate judge's office to schedule a settlement conference, which

must be held on or before   APRIL 1, 2016 . Accordingly;

       IT IS ORDERED that counsel shall inform the Court within seven (7) days as to whether

the assigned magistrate judge can accommodate the parties, and if so, the date of the settlement

conference. If the parties have scheduled a private mediation, counsel shall so inform the Court.

       New Orleans, Louisiana, this 8th day of March, 2016.



                                            ____________________________________
                                            KURT D. ENGELHARDT
                                            UNITED STATES DISTRICT JUDGE
